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                                      EXHIBIT B




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                                                          Exihibit B




                                                           Delivery &                               Statement   Marketing Exp
Store #         Store Name    Merchandise     Royalty     Shuttle Fees   Warranty        Other        Total       Invoice     Total AR
          210 Findlay        $ 120,163.08 $     8,901.81 $    2,037.50 $   5,678.61 $    23,473.47 $ 160,254.47 $ 22,584.62 $ 182,839.09
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